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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

                                                  :
Talana Blackwell,                                 :
                                                  :
                                                  : Civil Action No.: 1:12-cv-00319-RJA
                       Plaintiff,                 :
       v.                                         :
                                                  :
Northstar Location Services, LLC; and             :
DOES 1-10, inclusive,                             :
                                                  :
                                                  :
                       Defendants.


            NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                    DISMISSAL OF ACTION WITH PREJUDICE
                           PURSUANT TO RULE 41(a)


       Talana Blackwell (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint
and voluntarily dismisses this action, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: September 26, 2012

                                                             Respectfully submitted,


                                                             By: /s/ Sergei Lemberg

                                                            Sergei Lemberg (SL 6331)
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                                                            Attorneys for Plaintiff
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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 26, 2012, a true and correct copy of the foregoing
Notice of Withdrawal was served electronically by the U.S. District Court for the Western
District of New York Electronic Document Filing System (ECF) and that the document is
available on the ECF system.
                                             By_/s/ Sergei Lemberg_________
                                                    Sergei Lemberg
